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                               United States District Court
                                       EASTERN DISTRICT OF TEXAS
                                           SHERMAN DIVISION


    ROBINSON CABRERA                                 §
                                                     §
    v.                                               §   CIVIL ACTION NO. 4:22cv2
                                                     §   Judge Mazzant
    FIRST NATIONAL BANK OF TRENTON                   §

                                                 ORDER

             On March 1, 2022, Defendant First National Bank of Trenton filed Suggestion of Bankruptcy

    Filing of Plaintiff Robinson Cabrera (Dkt. #6). The pleading indicates that Plaintiff Robinson

    Cabrera filed a Chapter 13 bankruptcy on February 28, 2022, in the United States Bankruptcy Court

    for the Eastern District of Texas, Sherman Division, Case No. 22-40254-BTR-13.

.            Accordingly, all claims asserted in the above-styled lawsuit are hereby STAYED pending

    further Order of the Court. See GATX Aircraft Co. v. M/V Courtney Leigh, 768 F.2d 711, 716 (5th

    Cir. 1985).

             IT IS SO ORDERED.
             SIGNED this 7th day of March, 2022.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES DISTRICT JUDGE
